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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI


 GENESIS HEALTH CLUBS, INC.,                              )
                                                          )
                                Counter-Claim             )
                                                          )
                                Defendant,                )
                                                          )
 vs.                                                      )   Case No.: ______________
                                                          )
 KYNDALL P. STOKER                                        )
                                                          )
                                                          )
                                                          )
                                Counter-Claim             )
                                Plaintiff.                )

                GENESIS HEALTH CLUB, INC.’S NOTICE OF REMOVAL

         Pursuant to 28 U.S.C.A. § 1446(a), Counterclaim Defendant Genesis Health Clubs, Inc.

(“GHC”) files its notice of removal of the civil action pending before the Circuit Court of St. Louis

County, Missouri, captioned as Genesis Health Clubs, Inc. v. Kyndall P. Stoker, No. 20SL-

AC20417-01. GHC’s statement of the grounds for removal is as follows:

                                          I.      PARTIES

         1.    Counterclaim Defendant, GHC, is a Kansas corporation with its principal place of

business in Kansas.

         2.    Counterclaim Plaintiff, Kyndall P. Stoker (“Ms. Stoker”), is a Missouri citizen,

residing in St. Louis County, Missouri.

                   II.      FACTUAL AND PROCEDURAL BACKGROUND

         3.    This case initially arose from a gym membership agreement (“Contract”), entered

into between GHC and Ms. Stoker, pursuant to which GHC would provide Ms. Stoker with a

membership to GHC’s health club facilities (“Club”) located in Springfield, Missouri, and in

exchange Ms. Stoker would pay monthly membership dues to GHC.


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         4.       Ms. Stoker used the Club but never paid any of her dues. Regardless, GHC made

many attempts to contact and work with Ms. Stoker on coming to a workable payment

arrangement. These attempts ultimately failed.

         5.       On October 18, 2019, GHC sued Ms. Stoker for breach of contract in the Circuit

Court of Greene County, Missouri, at Springfield. See Appendix A-6.

         6.       On December 12, 2019, the Greene County Circuit Court entered default judgment

in favor of GHC and against Ms. Stoker for a grand total of $2,736.81. See Appendix A-12.

         7.       A month later, Ms. Stoker engaged counsel for the first time. She moved to set aside

the judgment (see Appendix A-14) and the Green County Circuit Court granted that request,

vacating the judgment on February 13, 2020. See Appendix A-2 (Docket Order, Feb. 11, 2020).

On the same date, Ms. Stoker filed her Answer and Counterclaim to GHC’s Petition. See

Appendix A-26 (herein, “Original Counterclaim”).

         8.       In her Original Counterclaim, Ms. Stoker alleged that GHC breached the Contract

and she sought damages against GHC “for an amount that is fair and reasonable and less than

Twenty-Five Thousand Dollars ($25,000)….”). See id. (“WHEREFORE” provision).

         9.       Another three months passed and Ms. Stoker then moved to change the venue of

the action to St. Louis County, Missouri, based on allegedly improper venue. Ultimately, the case

was transferred to St. Louis County, Associate Circuit Court, on July 20, 2020. See Appendix A-

5 (Docket Order, July 20, 2020).1



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  It bears mentioning that the transfer of venue was improper for several reasons. It was substantively improper on the
merits in that Ms. Stoker was not a resident of St. Louis County when the case was initiated. GHC argued as much in
its opposition response. However, the merits of Ms. Stoker’s motion and GHC’s response were never reached as the
Greene County Circuit Court ordered transfer before expiration of the time allotted by the Missouri rules for GHC to
file its response. The Greene County Circuit Court essentially conceded as much and in fact apologized to GHC’s
counsel. However, because the Greene County Circuit Court had already ordered the case transferred, it lost
jurisdiction to reverse itself.


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         10.   Yet another three months passed with this action sitting largely dormant in St.

Louis. Then on October 15, 2020, Ms. Stoker filed her First Amended Counterclaim for Class

Action, which raises a new theory of liability against GHC (superseding the first), asserts new

damages far in excess of those claimed in the Original Counterclaim, and now even seeks to certify

a class. See Appendix A-93 (herein, “First Amended Counterclaim”).

         11.   Specifically, Ms. Stoker now asserts a claim against GHC for an alleged violation

of the Missouri Merchandising Practices Act (“MMPA”); asserts that her actual damages now

exceed $25,000; asserts, for the first time, a claim for punitive damages “in excess of $100,000;”

and now asserts that her claim is the same as putative class of persons she seeks to certify, who are

unknown but apparently there are at least 40 members. See id. (Am. CounterCl. ¶¶ 19–28. See also

Am. CounterCl. (“Wherefore” section)).

                                  III.    BASIS FOR REMOVAL

         12.   A civil action brought in a state court over which the district courts of the United

States have original jurisdiction may be removed by a defendant to the district court of the United

States for the district and division embracing the place where the action is pending. 28 U.S.C.A. §

1441(a).

               a.      Original Jurisdiction Exists.

         13.   A district court of the United States has original (or “diversity”) jurisdiction over a

civil action where (1) the amount in controversy exceeds $75,000, exclusive of interest and costs,

and (2) the action is between citizens of different states. 28 U.S.C.A. § 1332(a),(1).

         14.   Under prong (1) of the jurisdictional analysis, generally the amount of damages to

which a party claims she is entitled suffices to establish the amount in controversy. See OnePoint

Solutions, LLC v. Borchert, 466 F.3d 342, 348 (8th Cir. 2007). Indeed, “a plaintiff’s good faith



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allegation is to be taken as true unless challenged….” Burns v. Mass. Mut. Life Ins. Co., 820 F.2d

246, 248 (8th Cir. 1987). And, to be sure, “[p]unitive damages are included in determining the

amount in controversy.” Allison v. Security Ben. Life Ins. Co., 980 F.2d 1213, 1215 (8th Cir. 1992).

         15.   Ms. Stoker claims damages of at least $125,000, exclusive of the interest, costs,

and attorneys’ fees. See Am. Countercl. ¶¶ 19—28. That amount includes her claim for punitive

damages “in excess of $100,000.” Id. ¶ 19. The amount in controversy threshold is satisfied.

         16.   Under prong (2), the parties to an action are citizens of different states if no plaintiff

is a citizen of the same state as any defendant. OnePoint Solutions, 486 F.3d at 346.

         17.   For purposes of a jurisdictional analysis, a corporation is a citizen of any state in

which it is incorporated and of the state where it has its principal place of business. 28 U.S.C.A. §

1332(c)(1); Lincoln Prop. Co. v. Roche, 546 U.S. 81, 89 (2005) (same).

         18.   “[T]he phrase ‘principal place of business’ in section 1332(c)(1) refers to the place

where a corporation’s high level officers direct, control, and coordinate the corporation’s

activities.” Hertz Corp. v. Friend, 559 U.S. 77, 81–82 (2010) (“Lower federal courts have

metaphorically called that place the corporation’s ‘nerve center.’”).

         19.   GHC is incorporated in Kansas—not in Missouri—and has its principal place of

business located in Kansas—not in Missouri. Ms. Stoker is a citizen of Missouri, residing in St.

Louis County. Complete diversity therefore exists.

         20.   Accordingly, the district courts of the United States have diversity jurisdiction

under section 1331 and the state court action is therefore removable under section 1441. See 28

U.S.C.A. § 1331(a); 1441(c).




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                b.      Removal is Timely and Proper.

         21.    As the district and division “embracing” the Circuit Court of St. Louis County, the

Eastern District of Missouri is the proper venue upon removal. See 28 U.S.C.A. § 1441(a).

         22.    Removal is effectuated upon defendant’s timely filing of a notice of removal in the

appropriate United States District Court, so long as defendant files a copy of the same with the

clerk of the state court and serves a copy of the same on all adverse parties. See 28 U.S.C.A. §§§

1446(a); 1446(b)(1); 1446(d). Compliance with the foregoing “shall effect the removal and the

State court shall proceed no further unless and until the case is remanded.” Id. § 1446(d).

         23.    Section 1446(b) sets forth the time within which a defendant must file for removal:

         (1) The notice of removal of a civil action or proceeding shall be filed within 30 days after
         the receipt by the defendant, through service or otherwise, of a copy of the initial pleading
         setting forth the claim for relief upon which such action or proceeding is based, or within
         30 days after the service of summons upon the defendant if such initial pleading has then
         been filed in court and is not required to be served on the defendant, whichever period is
         shorter.

         …

         (3) Except as provided in subsection (c), if the case stated by the initial pleading is not
         removable, a notice of removal may be filed within 30 days after receipt by the defendant,
         through service or otherwise, of a copy of an amended pleading, motion, order or other
         paper from which it may first be ascertained that the case is one which is or has become
         removable.

Id. § 1446(b)(1),(3).

         24.    While GHC initiated this action as the original plaintiff, Ms. Stoker’s First

Amended Counterclaim operates as “[the] amended pleading…from which it [was]

first…ascertained that the case is one which is or has become removable.” See id. § 1446(3).

         25.    GHC first received the First Amended Counterclaim by electronic notice of the

same, on the day it was filed, October 12, 2020. Removal is therefore appropriate and timely under

subsection (b)(3) of section 1446.


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         c.    Section 1446’s One-Year Limitation Does Not Foreclose Removal.

         26.   GHC acknowledges that, in certain cases, subsection (c) of section 1446 limits the

ability of a party to remove a case under subsection (b)(3). Subsection (c)(1) provides as follows:

               A case may not be removed under subsection (b)(3) on the basis of jurisdiction
               conferred by section 1332 more than 1 year after commencement of the action,
               unless the district court finds that the plaintiff has acted in bad faith in order to
               prevent a defendant from removing the action.

28 U.S.C.A. § 1446(c)(1). Ostensibly, the foregoing would operate to bar the state court action

from being removed to this Court. However, such is not the case here.

         27.   This much is clear: Ms. Stoker’s Original Counterclaim did not state a basis for

removal. Again, her Original Counterclaim raised a common law breach of contract theory of

liability and sought “less than Twenty-Five Thousand Dollars ($25,000)” in damages. See supra ¶

8 (emphases added).

         28.   Her First Amended Counterclaim is the functional equivalent of an entirely new

cause of action against GHC. Specifically, Ms. Stoker: (i) no longer brings a common law breach

of contract claim, but instead espouses a theory of liability under a Missouri statute (the MMPA);

(ii) no longer seeks damages “less than” $25,000, but now claims damages in excess of $125,000;

and (iii) now seeks to certify a class of persons, who are unknown but according to Ms. Stoker,

there are at least 40 members. See supra ¶ 11.

         29.   Section 1446’s time limitation was not designed to limit GHC’s right to remove in

this case. It does not apply for one of two reasons, or both, as follows.

         30.   First, there is no ostensible reason why Ms. Stoker delayed filing her First Amended

Counterclaim, other than in an attempt to prevent removal. Assuming for purposes of this analysis

that the allegations she asserts in her First Amended Counterclaim are true, there is no reason she

could not have asserted them eight months earlier through her Original Counterclaim. This is not


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a case where new discovery was had which shed light on new facts that may have given rise to a

new theory of liability or increased damages.

         31.      The First Amended Counterclaim no doubt fundamentally changes the nature of

this litigation. But there is no apparent, legitimate, reason for Ms. Stoker’s decision to amend her

counterclaim three days before the expiration of section 1446’s one-year time limitation. Her

maneuvering cannot therefore prevent removal.

         32.      Furthermore, because Ms. Stoker’s First Amended Counterclaim fundamentally

changes the nature of this action, the case is removable even if her conduct does not rise to the

level of bad faith. This is so under the recognized “revival exception” to the time limitations

imposed by section 1446. See Haren & Laughlin Const. Co., Inc. v. Granite Re, Inc., 2011 WL

5822414, *2 (W.D. Mo. Nov. 16, 2011) (noting that federal courts “have recognized a ‘revival

exception’” to the time limitations imposed by section 1446); RLR Investments, LLC v. City of

Pleasant Valley, MO, 2019 WL 1472109, *3 (W.D. Mo. Apr. 3, 2019) (same).

         33.      The very purpose of the revival exception is to allow a party like GHC, who—

through no fault or inadvertence of its own—could not possibly have removed a case within the

time limitations of section 1446 because the opposing party amended her pleading so far beyond

the commencement of the action. See RLR Investments, LLC, 2019 WL 1472109, at *3.2

         34.      In RLR Investments, LLC, the Western District of Missouri explained that the

revival exception “provides that a lapsed right to remove is restored when the petition is amended

so substantially as to alter the character of the action and constitute essentially a new lawsuit.” Id.

(citing Johnson v. Heublein, Inc., 227 F.3d 236, 241 (5th Cir. 2000); Wilson v. Intercollegiate (Big


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  It should be noted that there are several substantive and procedural issues with respect to the First Amended
Complaint. For example, Ms. Stoker did not seek and obtain leave to amend her Original Complaint before filing it.
GHC intends to take up any and all such issues, but first brings this Notice of Removal to preserve its right to remove
above all else.

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Ten) Conference Athletic Ass’n, 668 F.2d 962, 965 (7th Cir. 1982)). While the Court in RLR

Investments ultimately did not apply the revival exception, its reasoning was that the case was

clearly removable at the onset of the case, and not removable solely by virtue of an amended

pleading. The exact opposite is true here.

         35.   In sum, Ms. Stoker’s tactics including her own inaction for the last eight months

cannot operate to foreclose GHC’s right to remove. Whether she be deemed to have engaged in

bad faith delay or whether a revival exception applies, GHC’s right to remove must be honored.

         36.   GHC timely files this notice under section 1446(a), is simultaneously filing a copy

of the same with the Clerk of the St. Louis County Circuit Court, serving the same on all parties

of record in the state court action and otherwise complying with Local Rule 2.03.

         37.   Accordingly, the state court action must be removed to the Eastern District.

         WHEREFORE, Genesis Health Clubs, Inc., respectfully requests that the civil action

currently pending before the Circuit Court of St. Louis County, Missouri, captioned Genesis

Health Clubs, Inc. v. Kyndall P. Stoker, No. 20SL-AC20417-01, be removed to the United States

District Court for the Eastern District of Missouri, and that this Court take and retain jurisdiction

of this action for determination of all issues, trial and judgment, to the exclusion of any further

proceedings in the Circuit Court of St. Louis County, Missouri.




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                                     Respectfully submitted,

                                     POLSINELLI PC

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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 11, 2020, I caused to be served a true and accurate copy
of the foregoing through the Court’s electronic filing system, to generate notice to all parties of
record.



                                             /s/ James Martin
                                             Attorney for Genesis Health Clubs, Inc.




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